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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


    QUINTEL TECHNOLOGY LTD.,                         §
                                                     §
                                                     §   Civil Action No. 4:15-CV-00307
    v.                                               §   Judge Mazzant
                                                     §
    HUAWEI TECHNOLOGIES USA, INC.,                   §
    FUTUREWEI TECHNOLOGIES, INC.,                    §
    HUAWEI TECHNOLOGIES CO., LTD.,                   §
    and ZHENGXIANG MA                                §
                                                     §
                                               ORDER

          On January 30, 2018, the Court issued a Memorandum Opinion and Order (“the Order”)

   (Dkt. #257) granting in part Defendants’ Motion to Exclude Expert Testimony of Michael Jensen

   and Professor Stephen Magee (Dkt. #195). In pertinent part, the Court declined to exclude Stephen

   Magee’s (“Magee”) unjust enrichment damage model (Dkt. #257 at pp. 12–14). However, in a

   footnote, the Court limited the use of such damage model. Specifically, the Court made the

   following statement:

          Pursuant to the Court’s Order Adopting Report and Recommendation of the United
          States Magistrate Judge (Dkt. #239), the Court dismissed Plaintiff’s unjust
          enrichment claim as it relates to all Defendants except Zhengxiang Ma. As such,
          Magee’s testimony concerning his Unjust Enrichment damage model is permissible
          only as it pertains to Ma.

   (Dkt. #257 at p. 14 n.1). On February 2, 2018, Plaintiff Quintel Technology Ltd. filed a Motion

   for Clarification of the Court’s January 30, 2018 Order (Dkt. #265). In its motion, Plaintiff takes

   issue with the footnote mention above. Specifically, Plaintiff makes the following argument:

          The Court’s observation in the footnote pertains to Quintel’s unjust enrichment
          claim – which was indeed dismissed as to all defendants except Ma on the basis
          that it was foreclosed by Quintel’s breach of contract claim . . . . But Quintel also
          seeks unjust enrichment damages, which remain available to Quintel as a means of
          recovery on its trade secret misappropriation and fraud claims.
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   (Dkt. #265 at p. 2) (emphasis in original). Stated differently, Plaintiff argues that although the

   Court dismissed its unjust enrichment claim against all Defendants, except Ma, the remedy of

   unjust enrichment is nevertheless appropriate as to Plaintiff’s misappropriation of trade secrets and

   fraud claims.

          On February 16, 2018, Defendants filed their response (Dkt. #276). In opposition to

   Plaintiff’s motion, Defendants aver that clarification is unnecessary. However, in the event that

   the Court does clarify its Order, Defendants concede that unjust enrichment is a remedy for

   misappropriation of trade secrets, but argue that such remedy not available because Plaintiff

   “cannot show that any unjust enrichment has been caused by the alleged misappropriation.” (Dkt.

   #276 at p. 3). Further, Defendants contend that unjust enrichment damages are not an available

   remedy for a fraud claim. The Court addresses whether unjust enrichment damages are available

   as to Plaintiff’s misappropriation claim followed by Plaintiff’s fraud claim.

          Defendants concede that unjust enrichment is a remedy for misappropriation of trade

   secrets. Despite this concession, Defendants, by attacking the plausibility and merits of Plaintiff’s

   misappropriation claim, argue that such a remedy is unavailable. The Court is unpersuaded by

   such arguments and therefore finds that Magee’s unjust enrichment damage model may be

   considered in relation to Plaintiff’s misappropriation of trade secrets claim against all Defendants.

          Regarding Plaintiff’s fraud claim, “‘Texas recognizes two measures of direct damages for

   common-law fraud: the out-of-pocket measure and the benefit-of-the bargain measure.’” Zorrilla

   v. Aypco Construction II, LLC, 469 S.W.3d 143, 153 (Tex. 2015) (quoting Formosa Plastics Corp.

   USA v. Presidio Eng’rs & Contractors, Inc., 960 S.W.2d 41, 49 (Tex. 1998)). “The former

   ‘derive[s] from a restitutionary theory’ while the latter ‘derive[s] from an expectancy theory.’” Id.

   (quoting Baylor Univ. v. Sonnichsen, 221 S.W.3d 632, 636 (Tex. 2007)). “Out-of-pocket damages

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    are measured by the difference between the value expended versus the value received, thus

    allowing the injured party to recover based on the actual injury suffered.” Id. (citing Formosa

    Plastics, 960 S.W.2d at 49). “Benefit-of-the bargain damages are measured by the difference

    between the value as represented and the value received, allowing the injured party to recover

    profits that would have been made had the bargain been performed as promised.” Id. (citing

    Formosa Plastics, 960 S.W.2d at 49–50).

           As such, the Court finds that the law does not permit Plaintiff to recover damages measured

    by unjust enrichment for its fraud claim. Instead, Plaintiff may only recover damages measured

    by either the out-of-pocket measure or the benefit-of-the bargain measure. Accordingly, Magee is

    prohibited from considering his unjust enrichment damage model in relation to Plaintiff’s claim

    for fraud.

.          It is therefore ORDERED that Plaintiff’s Motion for Clarification of the Court’s January

    30, 2018 Order (Dkt. #265) is hereby GRANTED in part. As such, Magee’s unjust enrichment

    damage model may only be considered in connection with Plaintiff’s misappropriation of trade

    secrets claim against all defendants and Plaintiff’s unjust enrichment claim against Ma.

           SIGNED this 27th day of February, 2018.




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                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE




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